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                EXHIBIT F
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             PLAINTIFF JOE ANDREW SALAZAR’S UPDATED DEPOSITION
               DESIGNATIONS AND HTC CORPORATION’S OBJECTIONS
                    AND COUNTER DEPOSITION DESIGNATIONS

          Pursuant to Federal Rule of Civil Procedure 26(a)(3) and the Court’s Eighth Amended

 Docket Control Order (Dkt. 212), Plaintiff Joe Andrew Salazar (“Salazar”) hereby submits the

 following designations from the depositions of those witnesses whose testimony Salazar expects

 to present at trial by deposition, or may present by deposition if the need arises.

          These deposition designations do not identify those witnesses whose testimony Salazar

 may choose to counter-designate, and Salazar hereby reserves the right to counter-designate the

 testimony of any witness whose deposition testimony is designated by Defendant HTC

 Corporation (“HTC”) and/or proffered by HTC at trial. Likewise, these deposition designations

 do not include deposition testimony that Salazar may use to cross-examine any witness called at

 trial, and Salazar hereby reserves the right to use deposition testimony to cross-examine and/or

 impeach any witness called live or by deposition at trial by any party, regardless of whether that

 witness’s testimony is designated herein. Salazar further reserves the right to present witnesses by

 deposition and designate their deposition testimony in the event that they become unavailable for

 trial.

          In addition, Salazar reserves the right to amend and/or supplement these Deposition

 Designations to add or delete deposition testimony as allowed by the Court and law, including to

 add rebuttal and/or counter-designations, and counter-counter designations, as contemplated by

 the Court’s Eighth Amended Docket Control Order (Dkt. 212), in rebuttal to HTC’s case,

 arguments or evidence, for purposes of authenticating evidence, and/or in response to any

 deposition testimony designated or counter-designated by HTC. Salazar notes that his designation

 of any deposition testimony herein is not an admission that such testimony would be admissible if
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 proffered by HTC and Salazar reserves the right to withdraw or choose not to offer the designated

 deposition testimony, in whole or in part.

        At this time, Salazar identifies the following deposition designations in alphabetical order:

                                     [continued on next page]
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                  PLAINTIFF JOE ANDREW SALAZAR’S UPDATED DEPOSITION DESIGNATIONS

                                                                                                  Salazar’s
                                        Salazar’s                       HTC’s
                        Date of                         HTC’s                       Salazar’s     Counter-        HTC’s
     Deponent                             Initial                      Counter-
                       Deposition                      Objections                   Objections    Counter        Objections
                                       Designations                   Designation
                                                                                                 Designations
Blok, Justin        January 24, 2018
Ho, Chia Chu        December 1,        17:9 – 19:15   18:1-9 –
                    2017                              401/402; 403
                                                      18:22-19:3 –
                                                      objectionable
                                                      as compound
                                                                      7:22-24
                                                                      8:3-22
                                                                      8:24
Gottesman, Oded     February 19,
                    2018
Griffin, Roy        January 23, 2018
Griffin, Roy        February 9, 2018
Lai, Hsiu Fen       December 1,        11:1 – 18:25   11:1-12:9 –
                    2017                              401/402; 403
                                                      13:15-15:13 –
                                                      401/402, 403
                                                      18:1-7 –
                                                      401/402, 403
                                                      18:18-25 –
                                                      401/402, 403
                                                                      7:16-23                    20:11-17       Compound,
                                                                                                                Beyond the
                                                                                                                Scope
                                                                      12:13-15                   26:20-37:4     28:16-29:5 –
                                                                                                                401/402, 403
                                                                      15:14-20                                  29:16-17 –
                                                                                                                401/402, 403
                                                                      15:22                                     29:18-21 –
                                                                                                                Vague
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                                                                                       Salazar’s
                                Salazar’s                    HTC’s
                   Date of                     HTC’s                     Salazar’s     Counter-        HTC’s
Deponent                          Initial                   Counter-
                  Deposition                  Objections                 Objections    Counter        Objections
                               Designations                Designation
                                                                                      Designations
                                                           19:18-21                                  30:22-31:5 –
                                                                                                     401/402, 403,
                                                                                                     Vague,
                                                                                                     Compound
                                                           19:23-25                                  31:20 – 31:22
                                                                                                     – Compound
                                                           20:3-6                                    31:23-32:1 –
                                                                                                     401/402, 403
                                                           20:8-10                                   32:20-33:5 –
                                                                                                     Compound
                                                                                                     34:8-34:15 –
                                                                                                     Vague,
                                                                                                     401/402, 403
                                                                                                     34:16-20 –
                                                                                                     Vague,
                                                                                                     401/402, 403,
                                                                                                     Misstates
                                                                                                     prior
                                                                                                     testimony
                                                                                                     34:21-35:6 –
                                                                                                     Vague
                                                                                      38:24-48:21    38:24-39:14 –
                                                                                                     Vague,
                                                                                                     401/402, 403
                                                                                                     39:14-21 -
                                                                                                     Compound
                                                                                                     39:22-40:18 –
                                                                                                     401/402, 403,
                                                                                                     Vague,
                                                                                                     Assumes
                                                                                                     Facts Not in
                                                                                                     Evidence
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                                                                                                Salazar’s
                                      Salazar’s                       HTC’s
                       Date of                        HTC’s                       Salazar’s     Counter-        HTC’s
    Deponent                            Initial                      Counter-
                      Deposition                     Objections                   Objections    Counter        Objections
                                     Designations                   Designation
                                                                                               Designations
                                                                                                              41:16-42:5 –
                                                                                                              401/402, 403,
                                                                                                              Subject to
                                                                                                              HTC MIL 2C
                                                                                                              42:19-43:1 –
                                                                                                              401/402, 403
                                     20:24-22:4     20:24-21:1 –
                                                    objectionable
                                                    as vague &
                                                    ambiguous,
                                                    Subject to
                                                    HTC MIL 1.A
                                                    21:8-18 –
                                                    401/402, 403,
                                                    stricken
                                                    question,
                                                    Subject to
                                                    HTC MIL I.A
                                     22:15-23:11    Subject to
                                                    HTC MIL I.A
Lam, Vincent       March 22, 2018
Muthukumarasamy,   January 8, 2018   25:7-29:21     25:7 –
Sivasubramanian                                     401/402; 403;
                                                    objectionable
                                                    as only an
                                                    answer
                                                    without a
                                                    question
                                                    25:19-23 –
                                                    objectionable
                                                    as vague and
                                                    ambiguous
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                                                                                           Salazar’s
                                Salazar’s                       HTC’s
                   Date of                      HTC’s                        Salazar’s     Counter-       HTC’s
Deponent                          Initial                      Counter-
                  Deposition                   Objections                    Objections    Counter       Objections
                               Designations                   Designation
                                                                                          Designations
                                              and
                                              withdrawn/
                                              stricken
                                              26:5-25 –
                                              401/402; 403;
                                              objectionable
                                              as vague and
                                              ambiguous
                                              and as
                                              compound; no
                                              answer
                                              27:21-28:3 –
                                              401/402;
                                              objectionable
                                              as compound
                                              and vague and
                                              ambiguous;
                                              no answer
                                                              8:14-12:25    401/402,
                                                                            602F, 602P,
                                                                            VA
                                                              13:20-18:8    401/402,
                                                                            602F, 602P,
                                                                            VA, LC
                                                              20:5-7
                                                              20:11-13
                                                              20:20-23
                                                              27:2-3
                                                              27:5-20
                                                              28:5-11
                                                              28:13-16
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                                                                                                    Salazar’s
                                          Salazar’s                       HTC’s
                          Date of                         HTC’s                       Salazar’s     Counter-       HTC’s
    Deponent                                Initial                      Counter-
                         Deposition                      Objections                   Objections    Counter       Objections
                                         Designations                   Designation
                                                                                                   Designations
Meyers, Robert        December 21,
                      2017
Salazar, Joe Andrew   December 20,
                      2017
Wei, Tung Shan        December 1,
                      2017
Wolfe, Andrew         January 31, 2018
Ho, Chia Chu          March 30, 2018     23:1-20        23:4-17 –
“Robbie” and Wu,      (March 29, 2018                   401/402; 403;
Chih Chung            EST)                              HTC’s MIL
“Brian”                                                 #II.C
                                                        (discovery
                                                        conduct/
                                                        disputes)
                                         23:21-24:17    401/402; 403;
                                                        objectionable
                                                        as vague and
                                                        ambiguous;
                                                        HTC’s MIL
                                                        #II.C
                                                        (discovery
                                                        conduct/
                                                        disputes)
                                         24:18-26:24    24:18-25:12 –
                                                        401/402; 403;
                                                        objectionable
                                                        as improper
                                                        narrative by
                                                        counsel

                                                        25:20-21 –
                                                        401/402
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                                                                                          Salazar’s
                                Salazar’s                       HTC’s
                   Date of                      HTC’s                       Salazar’s     Counter-       HTC’s
Deponent                          Initial                      Counter-
                  Deposition                   Objections                   Objections    Counter       Objections
                               Designations                   Designation
                                                                                         Designations

                                              26:5-24 –
                                              602;
                                              objectionable
                                              as vague and
                                              ambiguous;
                                              outside scope
                                              of 30(b)(6)

                                              26:10-20 –
                                              401/402; 403
                               28:18-25       objectionable
                                              as vague and
                                              ambiguous;
                                              HTC’s MIL
                                              #II.C
                                              (discovery
                                              conduct/
                                              disputes)
                               32:18-33:1     32:18-33:1 -
                                              objectionable
                                              as vague and
                                              ambiguous;
                                              HTC’s MIL
                                              II.C
                                              (discovery
                                              conduct/
                                              disputes)

                                              32:18-19 –
                                              401/402; 403
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                                                                                            Salazar’s
                                Salazar’s                         HTC’s
                   Date of                      HTC’s                         Salazar’s     Counter-       HTC’s
Deponent                          Initial                        Counter-
                  Deposition                   Objections                     Objections    Counter       Objections
                               Designations                     Designation
                                                                                           Designations
                               33:2-9         outside the
                                              scope
                               33:10-19       33:10-19 –
                                              objectionable
                                              as
                                              argumentative
                                              and
                                              mischaracteriz
                                              es the witness’
                                              prior
                                              testimony;
                                              HTC’s MIL
                                              II.C
                                              (discovery
                                              conduct/
                                              disputes)

                                              33:6, 14-16 –
                                              401/402
                               34:18-35:6     34:18-21 –
                                              objectionable
                                              as vague and
                                              ambiguous

                                              34:22-34:25 –
                                              401/402, 403

                                              35:3-6 –
                                              401/402;
                                              objectionable
                                              as vague and
                                              ambiguous
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                                                                                          Salazar’s
                                Salazar’s                       HTC’s
                   Date of                      HTC’s                       Salazar’s     Counter-       HTC’s
Deponent                          Initial                      Counter-
                  Deposition                   Objections                   Objections    Counter       Objections
                               Designations                   Designation
                                                                                         Designations
                                              and
                                              argumentative
                               46:22-25       401/402;
                                              outside the
                                              scope
                               47:5-15        47:5-9 –
                                              401/402/ 403;
                                              objectionable
                                              as
                                              argumentative
                                              and improper
                                              narrative by
                                              counsel

                                              47:13-15 –
                                              401/402; 403
                               48:12-49:4,    48:12-14 –
                                              outside the
                                              scope; HTC’s
                                              MIL II.C
                                              (discovery
                                              conduct/
                                              disputes)

                                              48:15-49:1 –
                                              401/402; 403;
                                              HTC’s MIL
                                              II.C
                                              (discovery
                                              conduct/
                                              disputes)
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                                                                                          Salazar’s
                                Salazar’s                       HTC’s
                   Date of                      HTC’s                       Salazar’s     Counter-       HTC’s
Deponent                          Initial                      Counter-
                  Deposition                   Objections                   Objections    Counter       Objections
                               Designations                   Designation
                                                                                         Designations
                                              49:2-4 –
                                              outside the
                                              scope; HTC’s
                                              MIL II.C
                                              (discovery
                                              conduct/
                                              disputes)
                               49:23-51:5     49:23-50:4 –
                                              401/402;
                                              objectionable
                                              as vague and
                                              ambiguous;
                                              outside the
                                              scope; HTC’s
                                              MIL II.C
                                              (discovery
                                              conduct/
                                              disputes)

                                              50:5-8 –
                                              objectionable
                                              as
                                              argumentative
                                              ; 401/402;
                                              403; outside
                                              the scope;
                                              HTC’s MIL
                                              II.C
                                              (discovery
                                              conduct/
                                              disputes)
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                                                                                             Salazar’s
                                Salazar’s                       HTC’s
                   Date of                      HTC’s                        Salazar’s       Counter-       HTC’s
Deponent                          Initial                      Counter-
                  Deposition                   Objections                    Objections      Counter       Objections
                               Designations                   Designation
                                                                                            Designations
                                              50:9-16 –
                                              401/402;
                                              objectionable
                                              as vague and
                                              ambiguous;
                                              outside the
                                              scope; HTC’s
                                              MIL II.C
                                              (discovery
                                              conduct/
                                              disputes)

                                              50:17-51:5 –
                                              401/402; 403;
                                              401/402;
                                              outside the
                                              scope; HTC’s
                                              MIL
                                              (discovery
                                              conduct/
                                              disputes)
                                                              44:17-19
                                                              44:25-45:9
                                                              45:11-12
                                                              56:5-8        Improper
                                                                            Leading
                                                                            Question (LQ)
                                                              56:10-14      LQ
                                                              56:16-20      LQ
                                                              56:22-57:1    LQ
                                                              57:10-21      LQ
                                                              57:23-58:2    LQ
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                                                                                       Salazar’s
                                Salazar’s                    HTC’s
                   Date of                     HTC’s                     Salazar’s     Counter-       HTC’s
Deponent                          Initial                   Counter-
                  Deposition                  Objections                 Objections    Counter       Objections
                               Designations                Designation
                                                                                      Designations
                                                           58:4-10       LQ
                                                           58:12-15      LQ
                                                           59:13-59:17   LQ
                                                           59:19-22      LQ
                                                           59:24-60:3    LQ
                                                           60:9-14       LQ
                                                           60:17-24      LQ
                                                           61:1-8        LQ
                                                           61:10-15      LQ
                                                           61:17         LQ
                                                           61:19 - 25    LQ
                                                           62:5-8        LQ
                                                           62:15-20      LQ
                                                           63:3-7        LQ
                                                           63:9          LQ
